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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiff,                                 4:13CR3003
      vs.
                                                    MEMORANDUM AND ORDER
IRMA CRISPIN-GOMEZ,
                   Defendant.


      The government has moved to continue the trial currently set for March 31, 2014
due to scheduling conflicts. (Filing No. 38). The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

      IT IS ORDERED:

      1)    The government’s motion to continue, (filing no. 38), is granted.

      2)    The trial of this case is set to commence before the Honorable John M.
            Gerrard, United States District Judge, in Courtroom 1, United States
            Courthouse, Lincoln, Nebraska, at 9:00 a.m. on April 14, 2014, or as soon
            thereafter as the case may be called, for a duration of seven (7) trial days.
            Jury selection will be held at commencement of trial.


      March 28, 2014.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
